         Case 2:96-cr-00350-WBS-AC Document 592 Filed 06/23/06 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    WILLIAM S. WONG
     JASON HITT
3    Assistant U.S. Attorneys
     501 "I" Street, Suite 10-100
4    Sacramento, California 95814
     Telephone: (916) 554-2790
5
6
7
8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  ) CR No. S-96-350 WBS
12                    Plaintiff, )
                                  )
13                v.              ) JOINT STIPULATION BY PARTIES; ORDER
                                  )
14   HUY CHI LUONG, et al.,       ) Date: June 22, 2006
                                  ) Time: 10:00 a.m.
15                    Defendants. ) Ctrm: Hon. Kimberly J. Mueller
     _____________________________)
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong and Jason S. Hitt, Assistant
20   United States Attorneys; and defendant Huy Chi Luong, through his
21   counsel of record, John Balazs, Esq.; hereby stipulate to the
22   following; that the matter presently set for law and motion hearing
23   on June 22, 2006, at 10:00 a.m., before the Honorable Kimberly J.
24   Mueller, be dropped from calendar.
25        The parties agree that the government will provide the
26   necessary information to the defense in order to identify the
27   companies/or victims and the dates of the specified unlawful
28   activity which it intends to use during the trial in this matter at

                                          1
         Case 2:96-cr-00350-WBS-AC Document 592 Filed 06/23/06 Page 2 of 2


1    least 45 days prior to trial.       Furthermore, if the government
2    intends to use any similar act evidence pursuant to Federal Rules of
3    Evidence 404(b), the government will provide to the defense the
4    necessary information to identify the similar act or evidence it
5    intends to use at least 45 days prior to trial which is set for
6    September 6, 2006, at 1:30 p.m.
7                                       Respectfully submitted,
8                                       McGREGOR W. SCOTT
                                        United States Attorney
9
10
     DATED: June 21, 2006        By:     /s/ William S. Wong
11                                      WILLIAM S. WONG
                                        Assistant U.S. Attorney
12                                      Attorney for Plaintiff
13
14   DATED: June 21, 2006     By: /s/ William S. Wong authorized by phone
                                      JOHN BALAZS, ESQ., Attorney
15                                    for Defendant Huy Chi Luong
16   ________________________________________________________________
17
                                          ORDER
18        IT IS SO ORDERED.
19
20   DATED: June 22, 2006.
21
22                                     ______________________________________
                                       UNITED STATES MAGISTRATE JUDGE
23
24
25
26
27
28

                                            2
